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                              UNITED STATES DISTRICT COURT
                          IN THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANIEL WILLIAM RUDD,

                                                           Case No. 1:18-cv-124
             Plaintiff,
                                                           Honorable Gordon J. Quist
      v.                                                   U.S. District Court Judge

CITY OF NORTON SHORES, et al.,
.

            Defendants.
__________________________________/




             PLAINTIFF’S BRIEF IN SUPPORT OF SANCTIONS
           AGAINST THE CITY OF NORTON SHORES DEFENDANTS



                            Filed by Pro Se Plaintiff, Daniel W. Rudd
                                      On October 21, 2018



	


	


	
                              	




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                      “Attorneys are the filter upon which courts rely
               to maintain the integrity of, and trust in, our judicial process.”

Peer v. Lewis, 606 F.3d 1306, 1316 (11th Cir. 2010). Federal courts are tasked with the immense
challenge of sifting through an extraordinary number of pro se cases every year. Because our
courts do rely upon court officers in sifting through pro se claims against well-represented
government bodies, the rare instance where experienced attorneys intentionally mislead the court
must be met with strict remedial action.

I.      Material misrepresentations regarding the substance of Plaintiff’s pleadings.

      In the present case, the facial sufficiency of Plaintiff’s claim had already been filtered by this
Court after the State Attorney General’s office litigated a Rule 12(b)(6) Motion To Dismiss. The
brief filed on behalf of F/Lt. McIntire raised challenges to Plaintiff’s factual allegations against all
Defendants. (ECF No. 24, emphasis added)
             Plaintiff’s claims are vague, generalized allegations about the alleged
             conduct of the behavior of all the Defendants. (PageID.196)
             Plaintiff’s alleged § 1983 Counts (Counts 1-4) offer conclusory statements
             rather than concrete factual assertions as to what any individual Defendant
             did. (PageID.197)
             All of Plaintiff’s §1983 counts are some version of an alleged conspiracy by
             all the Defendants. However, all four of these counts fail to state a claim.
             (PageID.198)
             Plaintiff alleges all the Defendants conspired to deprive him of his civil
             rights. However, he has failed to provide specific facts of a single conspiracy,
             failed to make any specific allegations, and failed to show a connection
             between any overt actions of the Defendants and an injury to the Plaintiff.
             (PageID.198)

On 8/8/18, this Court issued a detailed sixteen-page Opinion which sets forth a thorough analysis
of the sufficiency of Plaintiff’s factual allegations against all the Defendants. Several of Plaintiff’s
claims against the non-moving Defendants were found to be insufficiently stated and dismissed by
the Court. However, Plaintiff’s First Amendment Retaliation claims against the City were allowed
to go forward. Over the course of four pages, this Court succinctly identified the factual allegations
which support Plaintiff’s First Amendment claims against the City. (Opinion PageID.321-324.)



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Importantly, Attorney Callahan recognized this fact, noting in his 9/11/18 brief that this Court had
set forth “a detailed recitation of the facts alleged in plaintiff’s Complaint in ruling on Lt.
McIntire’s motion to dismiss.” (PageID.429.)
      However, instead of addressing those “facts alleged” and explaining why they do not
sufficiently form the basis a First Amendment retaliation claim, Mr. Callahan’s motion for
judgment on the pleadings relies primarily on misrepresentations of what has and has not been
plead by Plaintiff. Many of the misrepresentations pertain directly to central issues of material
dispute. Most of the omissions and distortions relate to factual allegations which were specifically
identified by this Court in the 8/8/18 Opinion. (ECF No. 50, pp.2-5). There can be no doubt that
the substance of a plaintiff’s pleadings are the single most important question a Rule 12(c)
challenge. In this respect, substantial omissions can be very misleading (See ¶¶2-3, PageID.656)
   Plaintiff’s 7/20/15 Citizen Complaint is at the center of this litigation. The City repeatedly
deviated from official policy in handling this complaint. Each of these deviations could potentially
serve as an “adverse act” which inherently relates to the protected activity (filing of the 7/20/15
Citizen Complaint). The City attempts to mitigate this liability by advising the Court that Plaintiff
plead something completely different about when and how the Citizen’s Complaint was circulated
(See ¶4, PageID.657). Although circulating the complaint before completing a full investigation
would have also been improper, the adjusted scenario is substantially more favorable for the City

than what Plaintiff actually alleged. The complaint clearly states that Chief Gale circulated the
complaint immediately after receiving it—and before he had investigated anything or
communicated with Plaintiff at all (¶¶54, 55, 57, at PageID.14).
     The City’s claims that Attorney McLean was successful in obtaining a PPO against Plaintiff
are even more concerning. If that were the case, and that Norton Shores Police Department simply
entered a valid Stalking/PPO into the LEIN database, that would make a tremendous difference.
However, the City does not have any evidence to support this claim (if they did, it would have
been made known by now). More importantly, this is a blatant mischaracterization of what
Plaintiff has alleged.


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   Plaintiff claims that AFTER Attorney McLean failed to obtain a PPO from the state court
(twice), the City proceeded to enter a Stalking/PPO against Plaintiff without a valid court order.
Once again, the City is launching a collateral attack on Plaintiff’s factual allegations which most
easily establish liability against the City for First Amendment violations. Here also, this Court
did not have any difficulty in understanding exactly what Plaintiff had alleged. See 8/8/18 Opinion
at PageID.324:
       Although Melissa Meyers acknowledged that the PPO expired many months prior, she
       demanded that Rudd stipulate to an order authorizing NSPD to enter a nonexpiring
       PPO against Rudd into the LEIN database, which Rudd refused to do. Subsequently,
       Meyers had McLean file a motion with Judge Pittman stating that a clerical error had
       occurred (apparently in discharging the PPO) and requesting Judge Pittman to correct
       it. McLean subsequently filed another motion requesting Judge Pittman to authorize a
       stalking PPO against Rudd on the LEIN system, which included excerpts of Rudd’s
       complaint to Chief Gale. (Id. at PageID.17.) Shortly thereafter, the NSPD entered a
       stalking/PPO notation against Rudd on the LEIN system, without a valid court order.
       …Rudd notified the NSPD that no court order had entered, but the NSPD failed to
       correct the problem

(Id. ECF No. 50, emphasis added). Accordingly, the City’s omission and representations are
inexcusable—especially since they pertain to central issues in the dispute.
   Similarly, this Court’s 8/8/18 Opinion also succinctly identified a substantial number of factual
allegations which can support a plausible inference of causation between the actions against
Plaintiff on 11/9/15 and Plaintiff’s complaint to Chief Gale on 7/20/15. These include:
       On November 9, 2015, immediately prior to the criminal contempt hearing, Rudd met
       with McLean and Defendant Joel Baar, managing Partner of the Bolhouse firm, to
       discuss a “global resolution on all issues in the case.” During the meeting, Baar and
       McLean repeatedly told Rudd that he could avoid incarceration by discontinuing
       conduct that was “concerning” to Melissa and Mark Meyers, such as complaining to
       Chief Gale. Baar and McLean also advised Rudd that Chief Gale, Lieutenant McIntire,
       Defendant Doug Hughes (the City’s attorney), and Mark Meyers were outside in the
       hall prepared to testify that Rudd “had been engaging in very concerning behavior.”

(See Opinion, at PageID.324). Plaintiff’s complaint also incorporates a verbatim recitation of the
City’s 11/5/15 “Cease and Desist” letter which was sent to Plaintiff in perfect synchronization with
the contempt filings.




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       11/5/15 Letter From the City                         11/4/15 Bolhouse Def. Contempt Filings
                                                         Respondents interference with Petitioner's husband's
  Dear Mr. Rudd, This office represents the City
                                                        employment and defamatory, disparaging and slanderous
  of Norton Shores. Their Mayor has asked us to
                                                       comments about Petitioner and her husband, City Manager,
  monitor your conduct and behavior as it relates
                                                         Mark Meyers to the Police Chief on July 23, 2015 is a
  to the employment of Mark Meyers as the City
                                                                    violation of Petitioner's PPO.
   Administrator for the City of Norton Shores.
                                                      On 7/20/15 Respondent begin anew his pattern of harassment of
   We have information that leads us to believe       Petitioner and her family by filing a frivolous complaint with the
   that you have made serious defamatory and          Norton               Shores               Police               Chief
  disparaging remarks about Mr. Meyers as             alleging criminal, unethical and civil violations perpetrated by the
  well as other members of the Norton Shores          Norton Shores City Manager and Petitioner's husband, Mark Meyers,
               Police Department.                     Police Chief, Dan Shaw, Sargent Matt Rhyndress, and Officer
                                                      Wasilewski.
                                                                   …Respondent remains undeterred
       Also be mindful that the statements                      by these two respected [agency] findings
      you make to others about Mr. Meyers.               and continues his investigative harassment still to date

  Please treat this letter as notice to you that we    Respondents pattern of continued unconsented contacts and
  will take whatever action is legally necessary        harassment must be stopped. It is clear from Respondents
            to protect the professional                  actions that Respondent will only respond to this Courts
        and privacy rights of Mr. Meyers.                                   contempt powers.

                                                          Respondent must further be enjoined from writing,
 You are to cease and desist from any further         communicating slanderous, defamatory, libelous, disparaging
                                                      comments and statements about Petitioner and any member of
     contact or conversation with him.
                                                                    her family to other individuals


In describing the 11/8/15 meeting and contempt hearing, the City asserts (emphasis added):
        In spite of the fact that this entire litigation arises from a state court child custody
        dispute, plaintiff completely disregards that as the basis for his interactions with
        Attorneys Meyers, McLain and Baar. Instead, plaintiff attributes “a single plan” to
        these attorneys and the Norton Shores defendants to retaliate against him for
        exercising his First Amendment rights. The hubris this exhibits is stunning.

(City’s Brief at PageID.440). It is an absolute mystery how the 11/9/15 demands to “stop going
to the City” and the subsequent contempt hearing, relates to child custody proceedings in any way.
It is equally difficult to imagine why the City’s highest paid executives would need to spend the
morning at the county courthouse on a child custody matter? Why would the City attorney’s
billings include attendance at this hearing, review of the contempt filings and correspondence with
Plaintiff during the preceding week? Why were Dough Hughes, Jon Gale and Mark Meyers
discussing this matter over the weekend just before the hearing? (see PageID.20-21.) Most of all,
why should any of this be funded by the taxpayers of Norton Shores?




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       Here again, Mr. Callahan asserts counter-facts instead of addressing the sufficiency of the
facts which Plaintiff has actually alleged. In addition to regurgitating this tired “just a child
custody dispute” story, Mr. Callahan inserts an unsupportable and irrelevant ad hominem attack:
“The hubris this exhibits is stunning.”
       Presumably, this Court did not find Plaintiff’s inference of retaliatory intent to be outlandish.
The Court referenced these allegations and allowed the First Amendment Claims to go forward.
By suggesting that Plaintiff has exhibited a stunning level of hubris in drawing this inference, this
conclusory criticism also shows disrespect for this Court’s determinations. By failing “treat with
courtesy and respect all persons involved in the legal process” (MRPC 6.5), Mr. Callahan has
inadvertently engaged in discourteous conduct toward the tribunal as well. See MRPC 3.5(d).1
       Here, Mr. Callahan’s actual task was to offer a plausible explanation for the City’s 11/5/15
Cease and Desist letter and publicly funded participation in the contempt proceedings (particularly
the 11/9/15 hearing). Mr. Callahan’s subjective and disparaging personal beliefs about Mr. Rudd
are a poor substitute for offering the relevant arguments on challenge to facial sufficiency.

II.       Mr. Callahan had a heightened duty of candor, in these circumstances.

      As a sworn officer of the Court, Mr. Callahan’s first obligation is to safeguard the fairness and
integrity of the legal proceedings. See Michigan Rules of Professional Conduct 3.3(a), indicating
that “A lawyer shall not knowingly”:
          (1) make a false statement of material fact or law to a tribunal or fail to correct a false
          statement of material fact or law previously made to the tribunal by the lawyer;
          (2) fail to disclose to a tribunal controlling legal authority in the jurisdiction known to
          the lawyer to be directly adverse to the position of the client and not disclosed by
          opposing counsel; or
          (3) offer evidence that the lawyer knows to be false. If a lawyer has offered material
          evidence and comes to know of its falsity, the lawyer shall take reasonable remedial
          measures, including, if necessary, disclosure to the tribunal

1
  MRPC 3.5(d) A lawyer shall not engage in undignified or discourteous conduct toward the
tribunal. (Comment: The advocate's function is to present evidence and argument so that the
cause may be decided according to law. Refraining from undignified or discourteous conduct is
a corollary of the advocate's right to speak on behalf of litigants.)


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Id. Further, because our courts do tend to rely upon the representations of court of officers—
especially in the arduous process of filtering pro se complaints, an Attorney should exercise a
heightened degree of care in making representations to the court regarding the claims of a non-
lawyer opponent. This is especially true when those claims have already been vetted and deemed
non-frivolous. Portions of the opinion in Peer v. Lewis have been cited in over one hundred
subsequent opinions, including the following passage:
       [A]ttorneys are the filter upon which courts rely to maintain the integrity of, and trust
       in, our judicial process. On the rare occasion when attorneys undermine that integrity
       and trust, there must be consequences.

In Re Engle Cases, 283 F. Supp. 3d 1174 (M.D. Fla. 2017) (emphasis added). Mr. Callahan also
has failed to meet the required standard. Rule 11(b) imposes a "continuing duty of candor," and a
litigant may be sanctioned "for continuing to insist upon a position that is no longer tenable."
Ridder v. City of Springfield, 109 F.3d 288, 293, 298 (6th Cir.1997), cert. denied, 522 U.S. 1046,
118 S.Ct. 687, 139 L.Ed.2d 634 (1998).
    In keeping with the safe harbor provisions of Rule 11, the City was afforded just such an
opportunity. Plaintiff served a copy of the Motion for Rule 11 Sanctions motion to Mr. Callahan
on 9/21/18 (Proof of Service, ECF No. 65). The City’s subsequent failure to take any corrective
measure precludes the possibility that these misrepresentations were the product of mistake or
accident. Two weeks after being notified of these substantial errors, the City moved for entry of a

protective order “staying discovery until this Court has ruled on the pending motions to dismiss.”
(10/4/18, ECF No. 66.) In requesting this relief, the City insists that:
          The motion which the Norton Shores Defendants filed was solely on the pleadings.
          Discovery is not necessary for Plaintiff to respond to the motion to dismiss.
          The pending motion to dismiss may resolve the case in total, eliminating the need
          for discovery.

However, Apart from the distortions of Plaintiff’s factual allegations, and a number of ventures
well outside of the pleadings, the City’s arguments are largely duplicative of the those already
considered by this Court based on the previous submissions.




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          F/Lt. McIntire’s 4/13/18                                 The City’s 9/11/18 Rule 12(c)
    Motion to Dismiss under Rule 12(b)(6)                      Motion For Judgment On the Pleadings

 At most Plaintiff’s counts assert a vague                   Simply put, while the plaintiff’s Complaint is
 conspiracy to violate Plaintiff’s civil rights by all       littered with a plethora of speculation, innuendo
 Defendants. All the Defendants are left to guess,           and subjective musings, nowhere is there a single
 or try to discover from Plaintiff’s intermingled            factual allegation showing the defendants agreed
 general allegations, what each of them allegedly            to “a single plan” to retaliate against plaintiff or
 did wrong. Such assertions are legally insufficient         that the defendants “shared the same general
 to state a § 1983 claim. (PageId.197)                       conspiratorial objective.” (PageID.440)

                                                             [P]laintiff offers nothing more than conclusions
 Plaintiff generally alleges that all Defendants             and opinions to claim there was a meeting of the
 violated Plaintiff’s rights over several years during       minds among the alleged conspirators. All
 various encounters with members of the Norton               plaintiff has alleged is that a contentious custody
 Shores Police Department and city officials                 dispute existed in which both parties went to the
 regarding the Plaintiff’s protracted contested child        local law enforcement agency with complaints of
 custody dispute with his ex-wife. (PageID.193)              criminal conduct. (PageID.441)


The Rule 12(b)(6) challenge filed by the Attorney General’s office, was raised early in the
litigation (4/13/18) and was drafted without the benefit of this Court’s 8/8/18 Opinion (ECF No.
50). Because the City filed their Rule 12(c) challenge much later—and after this Court’s thorough
analysis on the sufficiency of the pleadings—the City’s motion to dismiss should be held to a
higher standard. Further, this Court succinctly identified the pertinent, non-conclusory factual
allegations upon which plausible inferences may be drawn (8/8/18 Opinion at PageId.321-324).
While purporting to challenge facial sufficiency, the City’s brief does not engage in any real
analysis of the most important factual allegations identified in this Court’s Opinion.
   When you strip away the mischaracterizations of Plaintiff’s pleadings, the City’s recent brief
largely argues from silence and offers no substantial insight as to what this Court missed in
deciding to allow Plaintiff’s First Amendment claims to proceed against the City, the Bolhouse
Defendants, and Ms. Meyers. The City could have withdrawn and amended their filings after
reviewing the defects which had been specifically identified. Instead, the City doubled down by
relying on the same claims as the basis for other relief. In this case, the other relief also suggests
an ulterior purpose for the City’s motion for judgement on the pleadings.




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III.      The City has substantial motivation to delay disclosure of documents
          requested on 9/17/18.

       After nearly a year of fighting disclosure in state court FOIA litigation, the City finally
disclosed some of the public records which demonstrate a culture of indifference toward
constitutional violations by the NSPD.2 Additionally, a substantial number of court records had
already been produced during the course of the state Stalking/PPO litigation in the state courts.
       Based on this documentary evidence, some of Plaintiff’s First Amendment claims against the
City are nearly ripe for partial summary judgment under Rule 56. If Plaintiff prevails on
establishing any one of his First Amendment claim in this manner, he will immediately be able to
retain the services of an experienced civil rights attorney. The public records requested by Plaintiff
on 9/17/18 are likely to provide the missing pieces.3      Conversely, if the City can successfully
delay access to critical department records (delays which can be extended through other tactics as
well), the City is well situated to prevail in this lawsuit by simply outlasting Plaintiff’s ability to
maintain it. However, the Defendants knew that Plaintiff would be allowed to make discovery
requests once the parties had “conferred as required by Rule 26(f).”

IV.       Obstructionist Conduct & Abusive Litigation Tactics:

       Plaintiff attempted to begin the process of discussing a discovery plan (including limited
preliminary discovery and phased discovery) on 7/6/18. The Defendants unanimously asserted
that they would not entertain such discussions until a Rule 16 conference had been scheduled. This
8/20/18 Order accomplished this and directed the parties to confer as required by Rule 26(f). See
ECF No. 52. Plaintiff immediately contacted opposing counsel to inquire about times for a joint
meeting, but his efforts were met with various forms of resistance. It was in this context that
Attorney Callahan interposed baseless, irrelevant, and derogatory statements about Plaintiff

2
  Plaintiff, sought records 1/27/17, filed a FOIA Complaint 8/29/17, after failing to obtain an
emergency stay of the 5/3/18 disclosure order, the City filed emergency appeals in the Michigan
COA and the Supreme Court (all denied). Even then contempt proceedings were required to
obtain un-redacted versions of City records (resolved on 6/28/18). See Exhibit 1-5.
3
  Most of these records sought by Plaintiff would typically be: (a) available to any citizen
through the FOIA; (b) already located and preserved in a litigation file.


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(described in ¶¶11-13 of Plaintiff’s sanctions motion, PageID.662). The e-mail alleges that
Plaintiff has somehow severely mistreated Attorney Lisa Hall, during the course of the state court
FOIA litigation. (Ex.A, PageID.671). Mr. Callahan conveys that having reviewed this litigation,
he was “rather appalled” by Plaintiff’s treatment of Ms. Hall—to the degree that Plaintiff would
not be welcome in any Plunkett Cooney building. Plaintiff contends that these allegations were
absolutely (and verifiably) false. Further there was absolutely no legitimate purpose for raising
injecting these claims into the already tenuous scheduling of a joint meeting (Ex.A, PageID.671).
    Here again, there are indications of the same ulterior purpose. Mr. Callahan sent these baseless
accusations to all the attorneys, knowing that Plaintiff was already struggling to obtain cooperation
in scheduling the joint meeting—a task which Plaintiff had been assigned by court order.4
Additionally, the narrative of the accusation itself is strikingly familiar to the baseless allegations
which Plaintiff has been forced to endure from the Bolhouse Defendants for many years.
    At the heart of this lawsuit is the claim that the Defendants have repeatedly opposed Plaintiff’s
petitioning activity through a subversive campaign to vilify and/or criminalize Plaintiff’s efforts
to vindicate his rights through legitimate court process.5 Instead of facing the merits of the dispute,
collateral attacks have been waged on Plaintiff’s ability to participate in the proceedings. The
recent conduct by Attorney Callahan follows that same trajectory. Instead of addressing seeking
judicial determinations on the merits, the Defendants are attempting to hinder and discourage

Plaintiff’s participation in the proceedings.

4
  “Plaintiff shall be responsible for scheduling the meeting, which may be conducted in person or
by telephone (8/20/18 Order, ECF No. 52, PageID.338).
5
  In 2015, the Bolhouse Defendant’s repeatedly characterized all of Plaintiff’s petitioning
activities as illegal, immoral and malicious. State court filings by the Bolhouse Defendants are
replete with extremely denigrating expressions directed at Plaintiff’s participation in the legal
process. Even Plaintiff’s efforts to have the unauthorized LEIN entry removed (October 2015)
was characterized as a criminal act of harassment, a violation of the 2013 ex parte PPO, and an
indication that Plaintiff was “delusional.” These same Defendants continue to assert that
Plaintiff’s efforts to oppose the renewed claims of stalking (and LEIN entry) in the 2015 state
court proceedings—AND the filing of this lawsuit all constitute acts of harassment (e.g. Def.
Answer at PageID.134; Def. Melissa Meyers Brief seeking dismissal at PageID.401.)


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   MRPC 6.5 requires attorneys to “treat with courtesy and respect all persons involved in the
legal process.” The comment section is also instructive:
       “A lawyer is an officer of the court who has sworn to uphold the federal and state
       constitutions, to proceed only by means that are truthful and honorable, and to avoid
       offensive personality. It follows that such a professional must treat clients and third
       persons with courtesy and respect. For many citizens, contact with a lawyer is the first
       or only contact with the legal system. Respect for law and for legal institutions is
       diminished whenever a lawyer neglects the obligation to treat persons properly. It is
       increased when the obligation is met.”

    While this conduct probably does not fall under the purview of Rule 11. This Court has
inherent power to address bad faith litigation tactics—especially when those tactics interfere with
court processes that serve “to achieve the orderly and expeditious disposition of cases." Chambers
v. NASCO, Inc., 501 U.S. 32, 43, 111 S.Ct. at 2123 (1991). Sanctions imposed to safeguard the
integrity and fairness of court procedures flow not from rule or statute, but from the "the control
necessarily vested in courts to manage their own affairs.” Id. This includes the ability to "fashion
an appropriate sanction for conduct which abuses the judicial process." Id. at 44, 111 S.Ct. 2123.
“When rules alone do not provide courts with sufficient authority to protect their integrity and
prevent abuses of the judicial process, the inherent power fills the gap." Id. at 2134.
    Plaintiff asks this Court to fashion appropriate sanctions which will prevent this type of
misconduct from occurring in the future. This could include the appointment of a special master
to oversee discovery disputes and the production of documents (with all expenses to be covered
by Plunkett Cooney). Alternatively, a sanction of $6000.00 could be paid by Plunkett Cooney and
deposited as a retainer for the services of an attorney to advise and assist Plaintiff until a firm has
been retained to handle the duration of the litigation. toward the appointment of a court appointed
prevent this type of misconduct from occurring in the future.
    Respectfully Submitted on October 22, 2018:
                                                         /s/ Daniel William Rudd
                                                       Daniel William Rudd, Plaintiff (Pro Se)
                                                       201 S Lake Ave. Spring Lake, MI 49456
                                                       daniel@stock20.com (231) 557-2532



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